







		NO. 12-09-00205-CR



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS




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IN RE: DANIEL WALKER,

RELATOR§
	ORIGINAL PROCEEDING


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MEMORANDUM OPINION


PER CURIAM


	Daniel Walker seeks a writ of mandamus requiring the respondent, the Honorable Joel P.
Baker, Judge of the County Court, Smith County, Texas, to appoint counsel for him.  

	According to Walker's mandamus petition, he is currently confined in the Smith County Jail. 
Following Walker's confinement, the respondent administered the required warnings concerning
Walker's constitutional rights.  Walker then filed an affidavit of indigency and requested appointed
counsel.  He complains here that he "has yet to meet with an attorney, certified by the State of
Texas."  He alleges that the respondent has a ministerial duty to obtain "legal guidance" for him and
requests that we direct the respondent to fulfill his duty.

	Mandamus relief is authorized in a criminal case only if the relator establishes that (1) he has
no other adequate legal remedy and (2) under the facts and the law, the act sought to be compelled
is purely ministerial.  State ex rel. Hill v. Fifth Court of Appeals, 34 S.W.3d 924, 927 (Tex. Crim.
App.2001).  A relator must furnish a record sufficient to support his claim for mandamus relief.  See
Tex. R. App. P. 52.7(a) (requiring a relator to file a certified or sworn copy of every document
material to his claim).  


	Walker has not furnished a record in this proceeding.  Therefore, we have not been provided
with information showing that the respondent has any connection with Walker's criminal case, other
than the administration of the initial warnings.  Consequently, we cannot determine what duty the
respondent had, if any, to appoint counsel for Walker.  Absent such information, we cannot conclude
that Walker is entitled to mandamus relief.  Accordingly, Walker's petition for writ of mandamus
is denied.

Opinion delivered July 15, 2009.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.



































(DO NOT PUBLISH)


